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RECORDING REQUESTED BY
MUFG UNION BANK, N.A.


AND WHEN RECORDED, MAIL TO:

MUFG UNION BANK, N.A.
Attn:Brad Starr _____________
                   nd
21700 Oxnard St., 2 Floor
Woodland Hills, CA 91367



                                                                               MODIFICATION AGREEMENT
                                                                              Renewal & Extension of Lien
                                                                 Security Agreement - Financing Statement



Loan Numbers xxxxxx_______________ xxxxxxxx_____________                         Effective Date: April 1, 2016

This Modification Agreement ("Agreement") is made as of the above date by and between Texas
Enterprises, LLC, a Delaware limited liability company, (as "Debtor" and "Trustor"), and MUFG UNION
BANK, N.A., formerly known as Union Bank, N.A , successor by merger to Santa Barbara Bank & Trust,
N.A., formerly known as Pacific Capital Bank, N.A. ("Bank"), with reference to the following facts:


                                                     RECITALS:

A.       Bank made a loan to Debtor evidenced by a the Line of Credit Note in the principal amount of
Nine Hundred Thousand Dollars and Zero Cents ($900,000.00), dated April 25, 2008 and the Loan
Agreement, dated April 25, 2008 (the “Note”), which is a renewal, extension and modification of a
promissory note in the original principal amount of Seven Hundred and Fifty Thousand Dollars and Zero
Cents ($750,000.00), dated June 8, 2007 and Loan Agreement, dated June 8, 2007, and all renewals,
extension and modifications thereof, including but not limited to the Amended and Restated Term Note
($750,000.00), dated March 6, 2008 and Loan Agreement, dated March 6, 2008 and which Debtor and
Bank herein acknowledge, agree and ratify as modified herein below. The Note and all renewals,
extensions and modifications are hereinafter referred to herein as the “First Lien Note”). Bank made an
additional loan to Debtor evidenced by a promissory note in the original principal amount of One Hundred
Thousand Dollars and Zero Cents ( $100,000.00), dated July 31, 2008 (“Second Note”) and Loan
Agreement, dated July 31, 2008, and all renewals, extensions and modifications thereof, including but not
limited to the Amended and Restated Note,dated November 5, 2008 ($150,000.00) and Loan Agreement,
dated November 5, 2008; Amended Restated Note, dated October 23, 2009 ($150,000.00) and Loan
Agreement, dated October 23, 2009, and the Amended and Restated Term Note ($149,192.71), dated
December 22, 2010 and Loan Agreement, dated December 22, 2010, which Debtor and Bank herein
acknowledge, agree and ratify, as modified herein below. The Original Second Note and all renewals,
extensions and modifications are hereinafter referred to herein as the “Second Lien Note”).


                                        EXHIBIT A




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B.       The First Lien Note is secured by a Deed of Trust, Security Agreement and Assignment of
Leases and Rents, dated April 25, 2008 and recorded on May 5, 2008 under Vol. 409, Page 550 in the
the Official Records of the County of Morris, State of Texas, which lien is a renewal and extension of a
Deed of Trust, Secuirty Agreement and Assignment of Leases and Rents, dated June 8, 2007 and
recorded on June 14, 2007 under Vol. 395, Page 95 in the Official Records of the County of Morris, State
of Texas (collectively referred to herein as the “First Lien Deed of Trust”). The Second Lien Note is
secured by a Deed of Trust, Security Agreement and Asignment of Leases and Rents, dated October 23,
2009, and recorded on November 11, 2009 under Vol. 432, Page 643 of the Offical Records of County of
Morris, State of Texas (collectively referred to herein as the “Second Lien Deed of Trust”). The First
Lien Deed of Trust and Second Lien Deed of Trust and all modifications and extensions thereof cover the
the following property:

         See Exhibit A attached hereto and incorporated herein by reference for all purposes
         (“Property”).

C.       The First Lien Note, Second Lien Note, the First Lien Deed of Trust and the Second Lien Deed of
Trust and any other documents executed in connection with the said notes and deed of trust are
collectively referred to as the "Loan Documents."

D.       It is the desire of the parties hereto to modify and amend the Loan Documents.

E.       Any reference to "Debtor" herein shall also mean "Borrower," if the Debtor is so defined in the
First and Second Lien Notes or the First and Second Lien Deeds of Trust. Any reference to "Bank" herein
shall also mean "Lender," if the Bank is so defined in the First and Second Lien Notes or the First and
Second Lien Deeds of Trust. Any reference to "Note" herein shall also mean "Debt Instrument," is so
defined in the First and Second Lien Notes or First and Second Lien Deeds of Trust.

1.       AMENDMENTS TO THE NOTE AND DEED OF TRUST AS APPLICABLE.

1.1     Extension of Maturity Date. The due date of final payment of all principal and interest, as
modified herein, under the First Lien Note and Second Lien Note is extended to November 28, 2026.

1.2      Change in Principal Amount. The new total principal amount due under the First Lien Note and
Second Lien Note is hereby modified and adjusted to One Million Fifty Thousand Dollars and Zero/Cents
($1,050,000.00). Debtor promises to pay to the order of Bank, its successors and assigns, the unpaid
amount of $1,050,000.00. For value received, Debtor renews the the First and Second Lien Notes and
promises to pay to the order of Bank, its successors and assigns, the amount of $1,050,000.00, and
further renews and extends the First and Second Lien Deeds of Trust liens, as the case may be, and
hereby agree to extend the liens described in the Loan Documents, as applicable. and and any and all
amounts due and unpaid under said notes and liens, as modified by this agreement.

1.3     Change in Interest Rate (Fixed Rate to Fixed Rate) and Monthly Principal, Interest. The
new interest rate due under the First and Second Lien Notes is Five percent (5.00%) per annum. The
Principal Amount and interest are due and payable in equal monthly installments of Six Thousand One
Hundred Thirty Eight and 20/100 Dollars ($6,138.20), beginning on December 28, 2016, and thereafter on
the 28th day of each succeeding month through Ocotber 28, 2026, and in one final installment payment
due on November 28, 2026 in the amount of the unpaid principal and accrued, unpaid interest and other
authorized charges due and owing as of that date. Payments will be applied first to accrued interest and
the remainder to reduction of the Principal Amount.




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1.4      Additional Security. In addition to liens created in the First and Second Lien Deeds of Trust on
all the real and other property described above, Debtor also grants to Lender a security interest in all
furniture, fixtures and equipment owned by the Debtor and located on the Property pursuant to and to the
extent permitted by the Texas Uniform Commercial Code, including but not limited to all of Debtor's
interest in heating, air conditioning, ventilating, plumbing, electrical fixtures and wiring, signage, , office
equipment, machinery, computers, and related equipment, beds, medical equipment                       and all
replacements thereof and additions thereto and proceeds therefrom and after-acquired collateral of the
same classification. Notwithstanding any other provision contained in Paragraph 1.4, the security interest
granted herein does not attach to any property that is not owned by Debtor.

2.       CONDITIONS PRECEDENT. Debtor [and Trustor] understands that this Agreement shall not be
effective and Bank shall have no obligation to amend the terms of the Loan Documents as provided
herein, unless and until each of the following conditions precedent has been satisfied not later than April
30, 2016 or waived in writing by Bank (in Bank’s sole discretion):

         (a)    Debtor shall have executed and delivered to Bank this Agreement, along with a legal
         execute confirmation and reaffirmation of guaranty by Jan Litwin.

         (b)     On or before such time as Bank may require, Debtor shall have taken any and all actions
         and executed and delivered to Bank any and all documents necessary or appropriate in Bank’s
         sole discretion to effectuate this Agreement, including but not limited to the dismissal with
         prejudice of any pending litigation between the parties.


3.       ADDITIONAL PROVISIONS.

3.1      Affirmation of Indebtedness. Debtor affirms and admits the indebtedness evidenced by the
First and Second Lien Notes, as modified herein. Debtor agrees and acknowledges that the new principal
amount due under the First and Second Lien Notes is $1,050,000.00 as of March 17, 2016. Debtor
acknowledges that it has no claims, offsets or defenses with respect to the payments of sums due under
the First and Second Lien Notes and First and Second Lien Deeds of Trust or other Loan Documents.
Debtor ratifies and confirms each and all of the terms, conditions and covenants of the First and Second
Lien Notes and First and Second Lien Deeds of Trust and other Loan Documents as amended or
modified by this Agreement and those provisions not so amended or modified and, except as specifically
amended or modified hereby, the Loan Documents remain in full force and effect.

3.2     State of Organization or Residence. Debtor agrees not to change Debtor's name, state of
organization, principal place of business (if a general partnership or other nonregistered entity) or
residence, as the case may be, without Bank's prior written consent.

3.3       No Encumbrance. Debtor represent(s) and warrant(s) that it is the owner(s) of the personal
property pledged in this Agreement and is the owner of the real estate described in the First and Second
Lien Deeds of Trust and that all such property is free and clear of any encumbrances thereon which are
not junior to the liens of said Deeds of Trust and Security Agreement contaned herein. Debtor further
represent(s) and warrant(s) that title to the real property described in said Deeds of Trust is vested in
Texas Enterprises, LLC, a Delaware limited liability company, subject only to those matters existing at the
time of recordation of said Deeds of Trust, taxes and the matters provided for in the original mortgagee’s
title policy issued relating to the said loans and that no one other than Debtor has any interest in the real
and personal property subject to the Deeds of Trust and the Security Agreement created herein, except
as set forth above.




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3.4    Binding Nature of Agreement. This Agreement shall only be binding upon Bank if this
Agreement is executed by all the parties hereto Bank shall have no obligation to record this Modification
Agreement until and unless it has received this Agreement and all other required documents fully
executed, including but not limited to the requirements set forth in Section 2 of this Agreement.

3.5   Counterparts. This Agreement may be executed in counterparts, each of which shall be
deemed an original but all of which together, shall constitute one and the same agreement.

3.6       USA Patriot Act Notice. Bank is subject to the USA Patriot Act and hereby notifies Borrower that
pursuant to the requirements of that Act, Bank is required to obtain, verify and record information that
indentifies Borrower, which information includes the name and address of Borrower and other information
that will allow Bank to identify borrower in accordance with that Act.

3.7      Release. Borrower hereby, for itself, its successors, heirs, executors, administrators and assigns
(each a “Releasing Party” and collectively, the “Releasing Parties”), releases, acquits and forever
discharges Bank, its directors, officers, employees, agents, attorneys, affiliates, successors,
administrators and assigns ("Released Parties") of and from any and all claims, actions, causes of action,
demands, rights, damages, costs, loss of service, expenses and compensation whatsoever which any
Releasing Party might have because of anything done, omitted to be done, or allowed to be done by any
of the Released Parties and in any way connected with the Loan or this Agreement or any other Loan or
Lien Documents or pending litigation, as of the date of execution of this Agreement, WHETHER KNOWN
OR UNKNOWN, FORESEEN OR UNFORESEEN, including, without limitation, any specific claim raised
by any Releasing Party, any settlement negotiations and any damages and the consequences thereof
resulting or to result from the events described, referred to or inferred hereinabove ("Released Matters").
Releasing Parties each further agrees never to commence, aid or participate in (except to the extent
required by order or legal process issued by a court or governmental agency of competent jurisdiction)
any legal action or other proceeding based in whole or in part upon the foregoing. Releasing Parties
agrees to dismiss with prejudice any pending litiation relating to the Loan and/or liens referred herein.

Releasing Parties each agrees that this waiver and release is an essential and material term of this
Agreement and that the agreements in this paragraph are intended to be in full satisfaction of any alleged
injuries or damages in connection with the Released Matters. Releasing Parties each represents and
warrants that it has not purported to convey, transfer or assign any right, title or interest in any Released
Matter to any other person or entity and that the foregoing constitutes a full and complete release of the
Released Matters. Releasing Parties each also understands that this release shall apply to all unknown
or unanticipated results of the transactions and occurrences described above, as well as those known
and anticipated. Releasing Parties each has consulted with legal counsel prior to signing this release, or
had an opportunity to obtain such counsel and knowingly chose not to do so, and executes such release
voluntarily, with the intention of fully and finally extinguishing all Released Matters.

"Notwithstanding anything to the contrary herein, including but not limited to the terms and conditions in
paragraph 3.7, nothing herein is intended to nor should be construed in any way as limiting, foreclosing,
releasing, or prejudicing any right of Debtor or Bank under the terms and conditions of the Debtor's Plan
of Reorganization as confirmed by the United States Bankruptcy Court for the Eastern District of Texas in
Case No. 15-20032, styled In re Texas enterprises, LLC."

3.8     Authorization. The Parties agree and acknowledge that each party has the authority to enter into
this Agreement and that all necessary authorizations and entity resolutions have been obtained and
completed and that the designated officer below for each party has the authority to execute this
Agreement on behalf of the undersigned officers have the authority to execute this Agreement on behalf
of the designated party. This Agreement shall inure to the successors and assigns of Bank and the
permitted successors and assigns of Debtor and Trustor.



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IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first written
above.

DEBTOR:

TEXAS ENTERPRISES LLC
a Delaware limited Liability Company

By: _____________________________
    Jan Litwin
    Manager




BANK:
MUFG UNION BANK, N.A.
Successor by merger to Santa Barbara Bank & Trust, N.A,, formerly known as Pacific Capital Bank, N.A.


By:
Name:
Title:




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                                             ACKNOWLEDGEDMENT

 State of California
 County of ________________

 On __________________ before me the undersigned Notary Public, personally
 appeared Jan Litwin, who proved to me on the basis of satisfactory evidence to be the
 person whose name is subscribed to the writing instrument and acknowledged to me
 that he executed the same in his authorized capacity, and that by his signature on the
 instrument, the person, or the entity upon behalf of which the person acted, executed
 the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.


WITNESS my hand and official seal.




Signature_____________________________________(SEAL)




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                                             ACKNOWLEDGEDMENT

 State of California
 County of ______________

 On __________________ before me the undersigned Notary Public, personally
 appeared ______________________, who proved to me on the basis of satisfactory
 evidence to be the person whose name is subscribed to the writing instrument and
 acknowledged to me that he executed the same in his authorized capacity, and that by
 his signature on the instrument, the person, or the entity upon behalf of which the
 person acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.


WITNESS my hand and official seal.




Signature_____________________________________(SEAL)




                                                                         Notary Public's Signature




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                                              EXHIBIT "A"
                                     DESCRIPTION OF REAL PROPERTY

THIS EXHIBIT "A" IS ATTACHED TO THAT CERTAIN MODIFICATION AGREEMENT DATED
EFFECTIVE April 1, 2016. COMMONLY KNOWN AS 102 Floyd Street, Naples, Texas 75568




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                            REAFFIRMATION OF GUARANTY



TO: MUFG UNION BANK, N.A., formerly known as Union Bank, N.A , successor by merger
to Santa Barbara Bank & Trust, N.A., formerly known as Pacific Capital Bank, N.A. ("Bank"),
its successors and assigns.

Re:    Texas Enterprises LLC d/b/a Bluebonnet Elite Assisted Living, a Delaware Limited
       Liability Company (the “Borrower”)

       For good and valuable consideration, the receipt and sufficiency of which are hereby
       acknowledged, the undersigned Guarantor hereby irrevocably and unconditionally
       acknowledges and confirms to the Bank, and its successors and assigns, that the guaranty
       of the obligations of the Borrower to the Bank made pursuant to the Unlimited
       Guaranties, dated June 8, 2007, April 25, 2008, July 31 2008 and November 5, 2008 and
       all subsequent reaffirmations of guaranty (the “Original Guaranty” and if more than one,
       collectively, the Original Guaranty”) continue in full force and effect and is a valid and
       binding obligation of the undersigned Guarantor in accordance with the term of the
       Original Guaranty, that no defenses, offsets, claims, counterclaims exist with respect to
       such Original Guaranty, and that said Original Guaranty is enforceable in accordance
       with its terms, and the guarantees and shall continue to guarantee in accordance with its
       terms the performance of all amounts guaranteed thereby, including without limitation, in
       addition to all other liabilities and obligations guaranteed thereby, all liabilities and
       obligations of the Borrower to the Bank respecting that certain Modification Agreement,
       Renewal & Extension of Lien Security Agreement-Financing Statement, dated effective
       April 1, 2016, executed by Texas Enterprises LLC d/b/a Bluebonnet Elite Assisted Living
       in favor of the Bank in the principal amount of One Million Fifty Thousand and Zero
       Dollars ($1,050,000.00), including, without limitation, interest, attorney’s fees and other
       amounts accruing after the filing of a petition in bankruptcy by or against the Borrower,
       notwithstanding the discharge of Borrower from such obligations, together with all costs
       and expenses incurred by the Bank in connection with such obligations, the Original
       Guaranty, as affected hereby and the enforcement thereof.




REAFFIRMATION OF GUARANTY PAGE 1
                                                                         EXHIBIT B
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      FINAL AGREEMENT: THIS WRITTEN AGREEMENT REPRESENTS THE
      FINAL AGREEMENT BETWEEN THE PARTIES AND MAY NOT BE
      CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR
      SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO
      UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

      Executed as of ___________

                                   Guarantor:

                                   ___________________________________
                                   Jan W. Litwin, Individually
                                   3704 Larkspur Lane
                                   Cameron Park, California 95682




REAFFIRMATION OF GUARANTY PAGE 2
